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                        IN THE UNITED STATES DISTRJCT COURT
                       FOR THE WESTERN DISTRJCT OF WISCONSIN

STANDARD PROCESS, INC.,

        Plaintiff,
                                                                 Case No. l 9-cv-709-jdp
   v.

DANNY LEVY,
and JOHN DOES 1-100,

        Defendants.


                                      DEFAULT JUDGMENT


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff

Standard Process, Inc. against defendant Danny Levy enjoining defendant and his agents,

servants, employees, and attorneys, and other persons who are in active concert or

participation with them, who have notice of the injunction (the Enjoined Parties), as follows:

        ( 1) The Enjoined Parties are prohibited from distributing, circulating, selling, offering

        to sell, advertising, promoting, or displaying, on the Internet or otherwise, any

        Standard Process products or products bearing the trademarks STANDARD

        PROCESS® (U.S. Trademark Registration No. 2,329,616); SP® (U.S. Trademark

        Registration    Nos.   2,469,448;   2,888,707;    and    3,618,534);   SP      STANDARD

        PROCESS® (U.S. Trademark Registration No. 3,726,215); CAfALYN® (U.S.

        Trademark Registration No. 1,476,530); ZYPAN® (U.S. Trademark Registration No.

        1,982,691);     LIGAPLEX®       (U.S.   Trademark       Registration   No.     1,984,258);

        CATAPLEX® (U.S. Trademark Registration No. 1,984,251); CONGAPLEX® (U.S.

        Trademark      Registration   No.   1,995,346);   MULTIZYME®           (U.S.    Trademark
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          Registration No. 2,548,738); ALLERPLEX® (U.S. Trademark Registration No.

          2,321,705);       GASTREX®     (U.S.   Trademark   Registration   No.   2,332,945);     SP

          CLEANSE® (U.S. Trademark Registration No. 2,622,227); and SP GREEN FOOD®

          (U.S. Trademark Registration No. 3,665,686) (collectively, "Standard Process

          Trademarks").

          (2) The Enjoined Parties must take all actions needed to remove Standard Process

          products and products bearing the Standard Process Trademarks from any website

          owned by, operated by, or associated with the Enjoined Parties. These actions include

          but are not limited to removing all Standard Process products and products bearing

          the Standard Process Trademarks from any marketplace storefronts, including but not

          limited to storefronts on Amazon, eBay, or Walmart.com, operated by, or associated

          with the Enjoined Parties, including but not limited to the Amazon storefront

          currently called "NGTrade" with Amazon Merchant ID A3O04X90A.HQK3N.



Approved as to form this         z_,JO              __8'_~
                                          day of_~_t:Tl? _______ , 20.P>




District Judge




 Peter Oppeneer              •                                Date
 Clerk of Court
